Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 1 of 90




                Stenographically reported - Transcript produced with computer-aided technology

   Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 2 of 90




                Stenographically reported - Transcript produced with computer-aided technology

   Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 3 of 90




   Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 4 of 90




   Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 5 of 90




   Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 6 of 90




   Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 7 of 90




   Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 8 of 90




   Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 9 of 90




   Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 10 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 11 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 12 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 13 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 14 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 15 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 16 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 17 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 18 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 19 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 20 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 21 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 22 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 23 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 24 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 25 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 26 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 27 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 28 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 29 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 30 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 31 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 32 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 33 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 34 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 35 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 36 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 37 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 38 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 39 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 40 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 41 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 42 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 43 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 44 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 45 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 46 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 47 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 48 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 49 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 50 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 51 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 52 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 53 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 54 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 55 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 56 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 57 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 58 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 59 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 60 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 61 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 62 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 63 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 64 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 65 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 66 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 67 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 68 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 69 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 70 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 71 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 72 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 73 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 74 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 75 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 76 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 77 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 78 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 79 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 80 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 81 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 82 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 83 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 84 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 85 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 86 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 87 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 88 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 89 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
Case 2:23-cr-00179-RAJ            Document 93           Filed 05/03/24         Page 90 of 90




    Debbie Zurn - RMR, CRR - Federal Reporter - 700 Stewart St. - Suite 17205 - Seattle WA 98101 - (206) 370-8504
